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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                   *
TEAMSTERS LOCAL UNION NO. 355,
a/w INTERNATIONAL BROTHERHOOD                      *
OF TEAMSTERS et al,
                                                   *
       Plaintiffs,
                                                   *
v.
                                                   *          Civil No. 23-2261-BAH
TOTAL DISTRIBUTION SERVICES, INC.,
et al.,                                            *

       Defendants.                                 *

*      *       *       *       *       *       *       *      *       *       *        *      *     *

                                   MEMORANDUM OPINION

       Plaintiffs Teamsters Local Union No. 355 (“Local 355”), affiliated with the International

Brotherhood of Teamsters, and Brian Bielawski (“Bielawski”), on behalf of himself and all others

similarly situated (collectively “Plaintiffs”), bring this suit against Defendants Auto Warehousing

Company (“AWC”) and Total Distribution Services, Inc. (“TDSI”) (collectively “Defendants”),

alleging a violation of the Maryland Economic Stabilization Act, Maryland Code, Labor &

Employment §§ 11-301–11-306 (the Maryland “WARN” Act). 1 ECF 1. Pending before the Court

are motions to dismiss filed by each Defendant. ECF 13 (TDSI motion to dismiss); ECF 15 (AWC

motion to dismiss). Plaintiff filed oppositions to both motions, ECF 18; ECF 19, and both




1
  WARN is obviously a curious acronym to use for the Maryland Economic Stabilization Act. The
reason for its use is that the law is based, at least in part, on a federal analogue called the Worker
Adjustment and Retraining Notification Act, to which the acronym “WARN” is better suited. See
29 U.S.C. §§ 2101 – 2109. It is common to refer to state counterparts to the federal law as
“WARN” acts or even “mini-WARN” acts. The parties have used the term WARN Act to refer to
the Maryland law at issue in their filings and the Court will do the same.
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Defendants filed replies, ECF 20; ECF 21. All filings include memoranda of law and exhibits. 2

The Court has reviewed all relevant filings and finds that no hearing is necessary. See Loc. R.

105.6 (D. Md. 2023). Accordingly, for the reasons stated below, both Defendants’ motions to

dismiss, ECF 13 and ECF 15, are GRANTED.

I.     BACKGROUND

       Plaintiff Bielawski formerly worked for Defendants at an “automobile-distribution

facility” in Jessup, Maryland, known as “Annapolis Junction.” ECF 1, at 2 ¶¶ 1–3. While

Bielawski worked for Defendants, he was represented by Local 355, which was party to a

collective bargaining agreement governing the conditions of employment at Annapolis Junction

that expired in November 2022. Id. at ¶ 3. Defendants and Local 355 engaged in negotiations to

establish an updated collective bargaining agreement for more than six months, until May 2023.

Id. at 2–3 ¶ 4. “On May 10, 2023, Defendants abruptly terminated approximately 60 employees

working at Annapolis Junction, including all 47 unionized employees.” Id. Plaintiffs allege that

Defendants did not provide any written notice before this termination and allege that the

terminations were effective immediately. Id. at 3 ¶ 5.

       Plaintiffs claim that Defendants violated the Maryland WARN Act by not providing 60

days’ advance written notice of the terminations. Id. at ¶¶ 5–6. Defendants now each move to

dismiss the complaint, claiming, among other things, 3 that the Maryland WARN Act does not

provide a private right of action. ECF 13-1, at 6–11; ECF 15-1, at 4–8. The Court agrees.



2
 The Court references all filings by their respective ECF numbers and page numbers by the ECF-
generated page numbers at the top of the page.
3
 Defendants also argue that there was no “reduction in operations” sufficient to trigger the WARN
Act’s protections. See ECF 13-1, at 9-11; ECF 15-1, at 8-9. Defendants also allege that any
reduction was the result of a “labor dispute,” which would remove any otherwise qualifying actions
outside the purview of the WARN Act pursuant to Md. Code Ann., Lab. & Empl. § 11-302 (a).


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II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(6) governs dismissals for failure to “state a claim

upon which relief can be granted.” In considering a motion under this rule, courts discount legal

conclusions stated in the complaint and “accept as true all of the factual allegations contained in

the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007); see also Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). A court then draws all reasonable inferences in favor of the plaintiff and

considers whether the complaint states a plausible claim for relief on its face. Nemet Chevrolet,

Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

       “The complaint must offer ‘more than labels and conclusions’ or ‘a formulaic recitation of

the elements of a cause of action[.]’” Swaso v. Onslow Cnty. Bd. of Educ., 698 F. App’x 745, 747

(4th Cir. 2017) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). At the same time,

a “complaint will not be dismissed as long as [it] provides sufficient detail about [the plaintiff’s]

claim to show that [the plaintiff] has a more-than-conceivable chance of success on the merits.”

Owens v. Balt. City State’s Att’ys Off., 767 F.3d 379, 396 (4th Cir. 2014).

III.   ANALYSIS

       Defendants each claim that Plaintiffs’ complaint should be dismissed because the Maryland

WARN Act does not provide a private right of action. ECF 13-1, at 6–11; ECF 15-1, at 4–8.

Plaintiffs acknowledge that the Act offers no express private right of action but insist it contains




See ECF 13-1, at 14-15; ECF 15-1, at 9-11. Since the Court finds that the Maryland WARN Act
does not provide a private right of action, it does not reach these alternative arguments.




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an implied private right of action. See ECF 18-1, at 4 (arguing for an implied private right of

action). Neither side of this dispute offers any case law where a court has considered this issue

with respect to the Maryland WARN Act, nor is the Court aware of any such case.

       As originally passed, the Maryland WARN Act provided only voluntary guidelines “for

employers faced with a reduction in operations.” Economic Stabilization Act, 2020 Md. Laws

2157 (codified at Md. Code Ann., Lab. & Emp. § 11-301–§ 11-306). However, subsequent

revisions to the WARN Act modified that mandate to require the Maryland Secretary of Labor “to

develop mandatory guidelines for employers faced with a reduction in operations.” Md. Code

Ann., Lab. & Empl. § 11-304 (b)(1). Revisions also added mandatory notice requirements and

potential penalties for violations, all to be assessed “by the Secretary [of Labor], or the Secretary’s

designee.” See Md. Code Ann., Lab. & Emp. § 11-306. More specifically, the Maryland WARN

Act requires that qualifying employers provide at least 60 days’ notice to qualified employees and

their collective bargaining units before a reduction in operations. Lab. & Emp. § 11-305(a). The

Act also requires that the Maryland Secretary of Labor develop regulations regarding the issuance

of orders to employers violating the Act and the assessment of a “civil penalty” for employers

found to have violated the Act. Economic Stabilization Act, 2020 Md. Laws 2157 (codified at Md.

Code Ann., Lab. & Emp. § 11-301–§ 11-306).

       “A private right of action allows an individual to bring an action in his or her personal

capacity to enforce a legal claim.” Aleti v. Metro. Baltimore, LLC, 279 A.3d 905, 920 (Md. 2022)

(citing State Ctr., LLC v. Lexington Charles Ltd. P’ship, 517, 92 A.3d 400 (Md. 2014)). “Under

Maryland law, the test for an implied cause of action is an exacting one.” Clark v. Bank of Am.,

N.A., 561 F. Supp. 3d 542, 554 (D. Md. 2021). The Court does not read an implied private right

of action into a statute without clear indication that the legislature intended it to do so. See Baker




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v. Montgomery Cnty., 50 A.3d 1112, 1122 (Md. 2012) (“A private cause of action in favor of a

particular plaintiff or class of plaintiffs does not exist simply because a claim is framed that a

statute was violated and a plaintiff or class of plaintiffs was harmed by it. Rather, the issue is a

matter of statutory construction.” (citing Touche Ross & Co. v. Redington, 442 U.S. 560, 568

(1979)).

       In considering whether an implied private right of action exists in a given statute, Maryland

courts ask three questions:

       (1) Is the plaintiff one of the class for whose special benefit the statute was enacted?

       (2) Is there any indication of legislative intent, explicit or implicit, either to create such a
           remedy or to deny one?

       (3) Is it consistent with the underlying purposes of the legislative scheme to imply such a
           remedy for the plaintiff?

Aleti, 279 A.3d at 920–21 (quoting Baker v. Montgomery Cnty., 50 A.3d 1112, 1122 (Md. App.

2012)). The most important of these inquiries is whether the legislature intended to create a private

right of action. Id. at 921. The Court will address each of these inquiries in turn.

       A.      Plaintiffs are members of the class of people for whose special benefit the
               statute was enacted.

       Defendants both argue that the Maryland WARN Act “does not inure to Plaintiffs’ special

benefit,” ECF 13-1, at 10 (capitalization adjusted), because “the Maryland WARN Act is not

tailored to provide a benefit to a particular subgroup of the public,” see ECF 13-1, at 11; ECF 15-

1, at 6. Plaintiffs strongly disagree. ECF 18-1, at 4; ECF 19-1, at 4.

       When a statute is crafted in such a way to “inure[] only to the benefit of a discrete class,”

this factor will weigh in favor of the creation of a private right of action. Clark, 561 F. Supp. 3d

at 555. For example, in Clark, the statute in question required that certain lenders pay to the

borrower the interest earned on the related escrow account. Id. (citing Md. Code Ann., Com. Law



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§ 12-109 (b)(1)). Despite acknowledging that the law did “not expressly specify a class for whose

benefit it was enacted,” the Court nonetheless found that the plaintiff, a borrower, was a member

of a discrete class which was benefitted by the statute. Id. at 555.

         Here, as in Clark, the law in question is specifically designed to offer protections for a

discrete group of people. The WARN Act specifically gives protections to workers employed by

qualifying employers, 4 ensuring that they are given adequate notice prior to termination. Md.

Code Ann., Lab. & Emp. § 11-305(a). This is not a provision that benefits the state as a whole,

but rather one that targets protections towards a specific group. Plaintiffs – having alleged that

their jobs were abruptly terminated with virtually no notice – are unquestionably part of that group.

As such, this factor weighs in favor of a private right of action.

         B.      There is no evidence of legislative intent to create a private right of action.

          “Where the legislative history does not indicate any discussion whatsoever as to whether

a statute gives rise to such a right, the fact that the ordinance is silent would weigh heavily against

an intent . . . to create a private cause of action.” Clark, 561 F. Supp. 3d at 555 (quoting Sugarloaf

Citizens Ass’n v. Gudis, 554 A.2d 434, 437–38 (Md. App. 1989)). However, this Court has also

cautioned that in the context of a state statute, the absence of legislative history indicating an intent

to create a private right of action “is entitled to little weight” because, as opposed to federal

legislation, there is a “comparative sparsity of legislative history accompanying Maryland state

legislation.” IVTx, Inc. v. United Healthcare of Mid-Atl., Inc., 112 F. Supp. 2d 445, 447 (D. Md.

2000); see also Staley v. Americorp Credit Corp., 164 F. Supp. 2d 578, 580–81 (D. Md. 2001)

(same). Thus, though both sides agree that there is no explicit evidence that state legislators

intended to create a private right of action, this is not, standing alone, determinative. See ECF 13-



4
    The complaint pleads that Defendants are qualified employers. ECF 1, at 4 ¶¶ 11–12.


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1, at 9 (“There is no indication — whether in the legislative history of the Act or otherwise — that

the Maryland legislature intended to confer a private right of action.”); ECF 18-1, at 5 (“The

available legislative record is silent on the issue of a legislative intent to provide or deny a private

right of action for violations of the Maryland WARN Act . . . .”).

        Defendants argue that Maryland legislators’ references to other states’ WARN Act analogs

that do explicitly include private rights of action during the hearings on the Maryland Economic

Stabilization Act suggest that the General Assembly intentionally considered — and discarded —

the idea of including a private right of action in Maryland’s WARN law. ECF 13-1, at 10; ECF

15-1, at 10 n.2. Plaintiff counters that the discussion of other states’ laws was narrow in scope and

that “it is highly probable that the Maryland General Assembly absentmindedly failed to include

a private right of action in the Maryland WARN Act.” ECF 18-1, at 6. The Court is not inclined

to attribute any legislative act to mere “absentminded[ness],” given the longstanding statutory

interpretation doctrine that the courts are to interpret every piece of legislation as being crafted

meaningfully. See State v. Johnson, 2 A.3d 368, 373 (Md. 2010) (“We neither add nor delete

language so as to reflect an intent not evidenced in the plain and unambiguous language of the

statute, and we do not construe a statute with ‘forced or subtle interpretations’ that limit or extend

its application.” (citation omitted)).

        The Court finds it instructive that the comments on the Act from legislators and external

commentators alike focus solely on the administrative regulations and enforcement mechanisms

that provide consequences for violations of the Act. 5 See, e.g., Economic Stabilization Act:



5
  Indeed, even industry groups who opposed the bill did not mention any fears regarding private
rights of action, reflecting that the conversation at the time included no such understanding. See
Economic Stabilization Act: Hearing on H.B. 1018 before the H. Econ. Comm., 2020 Leg., Ch.
407 (Md. 2020) (statement of Md. Building Industry Assoc.) (lamenting the civil penalties that


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Hearing on S.B. 780 before the S. Comm. on Fin., 2020 Leg., Ch. 407 (Md. 2020) (statement of

Delegate Dereck Davis, Chair, Econ. Matters Comm.) (discussing the enforcement mechanism as

one controlled by the “Commissioner”); see also Fiscal and Policy Note to H.B. 1018, 2020 Gen.

Assemb. (Md. 2020) (discussing policy and financial implications of passage of Economic

Stabilization Act and considering administrative enforcement measures but making no mention of

private lawsuits). Thus, it is not merely that the legislature absentmindedly failed to mention the

repercussions for violations of the WARN Act, to the contrary, it spoke on the enforcement

mechanism and focused exclusively on administrative enforcement to the exclusion of other

methods of enforcement. As the Appellate Court of Maryland made clear in its opinion in Aleti,

“[t]he existence of [] public enforcement provisions, with no analogous private enforcement

remedy, suggests that the [legislative body passing the law] did not intend to authorize a private

remedy.” Aleti v. Metro. Baltimore, LLC, 254 A.3d 533, 548–49 (Md. App. 2021), aff’d, 279 A.3d

905 (Md. 2022). This strongly suggests that the legislative intent was to provide for enforcement

of this law by a regulatory scheme and not by a private right of action. See Staley v. Americorp

Credit Corp., 164 F. Supp. 2d 578, 580 (D. Md. 2001) (“While not drawing any inference from

the silence of the legislative record, I am nevertheless persuaded that the General Assembly has

acted in a manner which reflects that it did not intend to create a private cause of action for

violation[.]”).

        It also bears noting the state legislature, had it been inclined to do so, was not without a

blueprint for how to add a private right of action. Indeed, the federal WARN Act contains an

explicit private right of action. See 29 U.S.C. §2104 (a)(1) (stating that “[a]ny employer who




could be imposed on employers who violate the Act but mentioning nothing about private
lawsuits).


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orders a plant closing or mass layoff in violation of section 2102 of this title shall be liable to each

aggrieved employee who suffers an employment loss as a result of such closing or layoff . . .”); id.

§ 2104(a)(5) (noting that “[a] person seeking to enforce such liability. . . may sue either for such

person or for other persons similarly situated, or both, in any district court of the United States for

any district in which the violation is alleged to have occurred, or in which the employer transacts

business”); see also ECF 18-1, at 6 (acknowledging that the federal WARN Act has a private right

of action). 6 In fact, “[a] civil action for damages [under the federal WARN Act] is ‘the exclusive

remed[y] for any violation [of the Act].’” Loc. 217, Hotel & Rest. Emps. Union v. MHM, Inc., 976

F.2d 805, 808 (2d Cir. 1992) (third alteration in original) (quoting 29 U.S.C. § 2104(b)). Thus, it

is clear to the Court that the Maryland legislature knew how to include a private right of action in

the Maryland WARN Act but chose not to do so.

        C.      It is not consistent with the purposes of the legislative scheme to imply a
                private right of action.

        Finally, reading a private right of action into the Maryland WARN Act is not consistent

with the overall legislative scheme of the Act. While Plaintiffs argue that “a private right of action

supports the underlying purposes of the Maryland WARN Act,” ECF 18-1, at 7, Defendants assert

that the Act’s express provision of an administrative enforcement scheme renders inappropriate

any implied private right of action, ECF 13-1, at 8. Certainly, allowing for a private right of action


6
  Plaintiffs also argue that lawmaker references to the federal analog as being the proverbial “floor”
for such legislation reflects an intent by the state to add a private right of action because the federal
WARN Act also contained one. See ECF 18-1, at 6. Though it amounts to pure speculation, the
Court notes that the reference to the federal law merely being the “floor” could have been intended
as an explanation for why Maryland’s WARN Act contains stricter requirements for the number
of workers required for an employer to be subject to the law (50 workers, see MD Code Ann., Lab.
& Empl. § 11-301(c)(1), as opposed to the federal law’s 100, see 29 U.S.C. § 2101 (a)(1)), and the
fact that a layoff of as few as 25 percent or 15 employees, whichever is greater, can trigger
application of the Maryland law, see MD Code, Labor & Employment § 11-301(e)(1), whereas
the federal counterpart that requires a layoff of at least 50 workers, see 29 U.S.C. § 2101
(b)(3)(B)(i).


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would help to protect workers’ rights, a primary purpose of the Act. However, “it is also entirely

reasonable that the [legislature] did not intend to enact such a [] remedy.” Aleti, 279 A.3d at 926.

The statutory scheme at issue here provides for a robust administrative enforcement mechanism,

which the Department of Labor’s draft regulations further flesh out. Md. Code Ann., Lab. & Empl.

§ 11-306 (describing penalties for violation of statute to be enforced by Maryland Secretary of

Labor); 50 Md. Reg. 1100 (Dec. 15, 2023) (proposing regulation laying out details of

administrative enforcement for Maryland WARN Act). Given this complex structure, reading a

private right of action into this statute could muddy the enforcement waters. “[F]or those reasons,

the remedies for violations that are expressly created in the ordinance are [those public

enforcement remedies] left to the discretion of executive authorities.” Aleti, 279 A.3d at 927

(alteration in original).

        There is no indication that an implied private right of action was intended by the General

Assembly or would serve the overall legislative scheme of the Maryland Warn Act, and the Court

is not permitted to read one into the statute. Plaintiff’s complaint must be dismissed.

IV.     CONCLUSION

        There can be no serious debate that the loss of a job is an upsetting and disruptive event.

What Plaintiffs allege happened here is even more unsettling: a sudden and unannounced mass

layoff that apparently afforded the affected workers no time to respond, no opportunity to plan for

the loss of income, and virtually no time to seek new employment without missing a much-needed

paycheck. However, the question before the Court today is not whether a violation of the Maryland

WARN Act occurred. Instead, the Court is tasked with determining whether the legislation

contains a private right of action. For the reasons noted above, the Court is constrained to conclude

that it does not. Because this Court finds that there is no private right of action under the Maryland




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WARN Act, Plaintiffs’ complaint is DISMISSED with prejudice. A separate implementing Order

will issue.


Dated: August 26, 2024                                                /s/
                                                       Brendan A. Hurson
                                                       United States District Judge




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